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 1
                                 UNITED STATES DISTRICT COURT
 2                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
 3
      IN RE CATHODE RAY TUBE (CRT)                      Master File No. 3:07-md-05944-SC
 4    ANTITRUST LITIGATION
                                                        MDL No. 1917
 5
     This Document Relates To:                          [PROPOSED] ORDER GRANTING
 6                                                      DIRECT ACTION PLAINTIFFS’
      Best Buy Co, Inc. v. Technicolor                  ADMINISTRATIVE MOTION TO SEAL
 7    SA, et al., No. 13-cv-05264;                      PORTIONS OF THEIR OPPOSITION TO
                                                        MITSUBISHI’S MOTION TO DISMISS
 8    Siegel v. Technicolor SA, et al., No. 13-cv-      PURSUANT TO CIVIL LOCAL RULES 7-
      00141;                                            11 AND 79-5(d)
 9

10    Costco Wholesale Corp. v. Technicolor SA, et
      al., No. 13-cv-05723;
11
      Electrograph Systems, Inc. v. Technicolor SA,
12
      et al., No. 13-cv-05724;
13
      Interbond Corp. of Am. v. Technicolor SA, et
14    al., No. 13-cv-05727;

15    Office Depot, Inc. v. Technicolor SA, et al.,
      No. 13-cv-05726;
16

17    P.C. Richard & Son Long Island Corp. v.
      Technicolor SA, et al., No. 13-cv-05725;
18
      Sears, Roebuck & Co. v. Technicolor SA, et
19    al., No. 13-cv-05262;
20
      Schultze Agency Services, LLC v. Technicolor
21    SA, et al., No. 13-cv-05668; and

22    Target Corp. v. Technicolor SA, et al., No. 13-
      cv-05686
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     [PROPOSED] ORDER GRANTING
                                                                            Master File No. 3:07-md-05944-SC
     DIRECT ACTION PLAINTIFFS’
     ADMINISTRATIVE MOTION TO SEAL
      Case 3:07-cv-05944-JST Document 2385 Filed 02/12/14 Page 2 of 2



 1            On January 27, 2014, Plaintiffs Best Buy Co., Inc.; Best Buy Purchasing LLC; Best Buy
 2   Enterprise Services, Inc.; Best Buy Stores, L.P.; BestBuy.com, L.L.C.; Magnolia Hi-Fi, LLC;
 3   Alfred H. Siegel (as trustee of the Circuit City Stores, Inc. Liquidating Trust); Electrograph
 4   Systems, Inc.; Electrograph Technologies Corp.; Interbond Corporation of America; Office
 5   Depot, Inc.; Costco Wholesale Corporation; P.C. Richard & Son Long Island Corporation; ABC
 6   Appliance, Inc.; MARTA Cooperative of America, Inc.; Schultze Agency Services, LLC, (on
 7   behalf of Tweeter Opco, LLC, and Tweeter Newco, LLC); Sears Roebuck and Co. and Kmart
 8   Corp.; and Target Corp., (collectively “Plaintiffs”) filed an Administrative Motion to Seal
 9   Portions of Amended Complaints Pursuant to Civil Local Rules 7-11 and 79-5(d) to file under
10   seal the highlighted portions of the following documents:
11            •   Direct Action Plaintiffs’ Opposition to Mitsubishi’s Motion to Dismiss Complaints
12                (“Opposition”)
13            Having read and considered the papers filed and arguments made by counsel, and good
14   cause appearing, IT IS HEREBY ORDERED that Plaintiffs’ Administrative Motion to Seal
15   Portions of Their Opposition to Mitsubishi’s Motion to Dismiss Pursuant to Local Civil Rules 7-
16   11 and 79-5(d) is GRANTED.
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18   IT IS SO ORDERED
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20   Dated:       2/12/2014
                                                          Hon. Samuel Conti
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                                                          UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER GRANTING
                                                                             Master File No. 3:07-md-05944-SC
     DIRECT ACTION PLAINTIFFS’                      -1-
     ADMINISTRATIVE MOTION TO SEAL
